         Case 1:20-cv-02447-SDG Document 106 Filed 10/06/21 Page 1 of 7




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 HILL & MAC GUNWORKS, LLC,

               Plaintiff,

 v.                                             CIVIL ACTION FILE NO.
                                                1:20-CV-02447-SDG
 TRUE POSITION, INC.,

               Defendant.


     PARTIAL MOTION TO STRIKE DECLARATION OF CHRIS WOODS
              AND TO EXCLUDE HEARSAY TESTIMONY
        COMES NOW Plaintiff Hill & Mac Gunworks, LLC (“Plaintiff” or
“HMG”), and, pursuant to Fed.R.Civ.P. 12(f). files this Motion to Strike portions of
the Declaration of Chris Woods [Doc. 94-3] (the “Declaration”) filed by Defendant
True Position, Inc. (“Defendant” or “True Position”), which Mr. Woods admitted
during the Rule 30(b)(6) Deposition of True Position, Inc. were not based on his
personal knowledge.

I.      INTRODUCTION
        Supporting and opposing affidavits shall be made on personal
        knowledge, shall set forth such facts as would be admissible in
        evidence, and shall show affirmatively that the affiant is competent to
        testify to the matters stated therein. Sworn or certified copies of all
        papers or parts thereof referred to in an affidavit shall be attached
        thereto or served therewith. The court may permit affidavits to be
        supplemented or opposed by depositions, answers to interrogatories, or
        further affidavits ...
                                            1
126895776.1
         Case 1:20-cv-02447-SDG Document 106 Filed 10/06/21 Page 2 of 7




Tishcon Corp. v. Soundview Communciations, Inc., No. CIV.A. 104CV524-JEC,
2005 WL 6038743, at *5 (N.D. Ga. Feb. 15, 2005) (quoting Fed.R.Civ.P. 56(e))

(emphasis added).
        “Consequently, on summary judgment, the Court does not accept testimony
that is not based on personal knowledge.” Id. (citing Citizens Concerned About Our
Children v. School Bd. of Broward Cty., Fla., 193 F.3d 1285, 1295 n. 11 (11th Cir.
1999)). “Declarations or affidavits not based on personal knowledge are subject to a
timely motion to strike…” Id. (citing Richardson v. Oldham, 12 F.3d 1373, 1378

(5th Cir.1994). Further, [c]onclusory statements in an affidavit are insufficient to
avoid summary judgment,” and are also subject to motions to strike. See Lovell v.
Floyd Cty., 710 F. Supp. 1364, 1374 (N.D. Ga. 1989) (citing Broadway v. City of
Montgomery, 530 F.2d 657, 660 (5th Cir.1976)).
        As will be shown below, Mr. Woods admitted during the Deposition of True
Position that he did not have personal knowledge about many of the “facts” alleged
in his Declaration. Accordingly, paragraphs 8-14, 26-35, 37-41, 43-44, 48, and 61
of the Declaration should be struck for Mr. Woods’ admitted lack of personal
knowledge about the facts therein. Other paragraphs of the Declaration are
conclusory statements about the parties’ respective obligations under the written
Exclusive License Agreement (“Agreement”), which speaks for itself, and is the
best evidence of its contents. Paragraphs 19, 24-25, 36, 46, and 53-55 contain
conclusory statements. Each of the foregoing paragraphs should be disregarded in

                                         2
126895776.1
         Case 1:20-cv-02447-SDG Document 106 Filed 10/06/21 Page 3 of 7




the Court’s consideration of TP’s Response in Opposition to HMG’s Partial Motion
for Summary Judgment [Doc. 93, 94] and TP’s Motion for Summary Judgment

[Doc. 104.], both of which rely on the Declaration for support.

II.     MR. WOODS’ LACK OF PERSONAL KNOWLEDGE
        During HMG’s Rule 30(b)(6) Deposition of TP, Chris Woods testified he
lacked personal knowledge of much of the HMG project, including nearly all

communications between TP and HMG. Mr. Woods testified that Mike Davis was
the supervising TP employee “over” the HMG project, and that Mr. Davis was the
“go-between” between TP and HMG. [Ex. C, at 34:21-23; 36:4-15.] Mr. Woods

testified that the TP employees directly involved with the HMG project were Mike
Davis, Mike Rowell, Mike Dove, Greg Fly, Chris McCafferty, Zac Merkley and
Steve Pilano. [Ex. C, at 35:7-36:16.] Mr. Woods testified that he did not personally

have conversations with HMG representatives concerning manufacturing or
machining issues. Rather, he would obtain information through Mike Davis. [Ex. C,
at 37:12-38:2.] Mr. Woods testified he “looked over” the initial plans for the Firearm
HMG delivered to TP, but that he did not give the plans a “100% inspection.” He
testified further that TP employees Mike Rowell, Greg Fly, and Chris McCafferty
reviewed HMG’s initial plans. [Ex. C, at 44:9-14; 46:5-47:5.] Mr. Woods testified

he did not have any direct conversations with Mr. Steil regarding Mr. Steil’s alleged
representations concerning the projected cost to manufacture the Firearm. [Ex. C, at
42:10-19.] Mr. Woods testified that he did not have any firsthand, direct discussion

                                          3
126895776.1
         Case 1:20-cv-02447-SDG Document 106 Filed 10/06/21 Page 4 of 7




with Mr. Steil about what rifles or what number of rifles that HMG was
manufacturing before entering the Agreement. [Ex. C, at 50:5-17.] Mr. Woods

admitted he only heard that HMG was making 25-50 Firearms through Mike Davis.
[Ex. C, at 50:5-17.] Mr. Woods testified that he was not personally involved in the
discussions with Mr. Steil regarding the alleged problem with HMG’s specifications

for the trunnions. [Ex. C, at 78:12-20.] Finally, Mr. Woods testified that he did not
read the Agreement before signing it. [Ex. C, at 54:23-25.]
        Accordingly, paragraphs 8-14, 26-35, 37-41, 43-44, 48, and 61, in which Mr.
Woods purports to testify about the forgoing matters, should be struck for Mr.
Woods’ lack of personal knowledge.

III.    CONCLUSORY STATEMENTS
        In paragraphs 19, 24-25, 36, 46, and 53-55, Mr. Woods testimony contains
conclusory statements regarding either (a) the parties’ respective rights and duties
under the Agreement, or (b) HMG’s alleged knowledge. These conclusory
statements should be struck, and not considered for summary judgment purposes.

        Respectfully submitted this 6th day of October, 2021.


                                              /s/ G. Marshall Kent, Jr.
                                              G. Marshall Kent, Jr.
                                              Georgia Bar No. 415129
                                              Nicholas B. Corser
                                              Georgia Bar No. 290744
                                              Dianna El Hioum
                                              Admitted pro hac vice

                                          4
126895776.1
         Case 1:20-cv-02447-SDG Document 106 Filed 10/06/21 Page 5 of 7




FOX ROTHSCHILD LLP
999 Peachtree Street, Suite 1500
Atlanta, Georgia 30309
404-962-1000
mkent@foxrothschild.com
ncorser@foxrothschild.com
delhioum@foxrothschild.com

Attorneys for Plaintiff




                                       5
126895776.1
         Case 1:20-cv-02447-SDG Document 106 Filed 10/06/21 Page 6 of 7




                       CERTIFICATE OF COMPLIANCE
        I hereby certify that this document has been prepared in a Times New Roman,

14-point font and otherwise complies with Local Rule 5.1(C), NDGa.
        This 6th day of October, 2021.

                                             Fox Rothschild LLP
                                             s/ G. Marshall Kent, Jr.
                                             G. Marshall Kent, Jr.
                                             Georgia Bar No. 415129

                                             Attorney for Plaintiff Hill & Mac
                                             Gunworks, LLC




                                         6
126895776.1
         Case 1:20-cv-02447-SDG Document 106 Filed 10/06/21 Page 7 of 7




                          CERTIFICATE OF SERVICE
        I hereby certify that the foregoing document was filed using the CM/ECF

system, which will automatically give notice to the following attorneys of record:

 John Michael Webster                        Dean R. Fuchs
 Bartlett & Webster, LC                      David L. Turner
 5093 South 1500 West                        Schulten Ward Turner & Weiss LLP
 Riverdale, Utah 84405                       260 Peachtree Street, NW, Suite 2700
                                             Atlanta, Georgia 30303

        This 6th day of October, 2021.
                                               /s/ G. Marshall Kent, Jr.
                                               G. Marshall Kent, Jr.
                                               Georgia Bar No. 415129




                                         7
126895776.1
